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                        EXHIBIT 24
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                                            Edward Padilla, MPH

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                                              (323)
                                                    @mac.com


  January 25, 2024

  Honorable Judge John F. Walter

  Re: Jose Huizar Le er of Support

  Dear Honorable Judge Walter:

  My name is Edward Padilla. I am a resident of Boyle Heights, a working actor, a Billing Specialist at
  Mercer, a public health professional, a non-proﬁt leader at a local arts organiza on, Casa 0101 Theater,
  and someone who cares deeply about Boyle Heights and the City of Los Angeles, having served several
  years on the Boyle Heights Neighborhood Council and numerous commi ees related to the health and
  be erment of our community.

  I have known Jose Huizar since 2005 when I ﬁrst moved into the Vista del Sol / Aliso Village housing
  community, oﬀ of First Street, Mission Street, and next to the 5 Freeway. From my ﬁrst interac ons with
  then Councilman Huizar, he demonstrated a genuine desire to help our community resolve issues that I
  had raised, which were aﬀec ng this newly developed area. The issues we were having at the me are
  not as important now as what Huizar did to help us resolve them. While his staﬀ was instrumental in
  scheduling mul -agency mee ngs and such, Huizar ensured that there was con nuity on the resolu ons
  by personally being present to many of those mee ngs and asking us about the outcomes shortly
  therea er.

  This was just the beginning of our many years of interac ng within and around the Boyle Heights
  community. He con nually demonstrated a strong understanding of issues facing residents, many of
  which were and are renters, and who he consistently showed up to help. His background as a ﬁrst-
  genera on immigrant, and as someone who also struggled and grew up in this neighborhood were
  important connec on points with us.

  I strongly believe that Huizar’s strong commitment to our community, his palpable caring for the
  be erment of our youth and residents, are some of the many reasons he was re-elected to be our
  Councilman in CD14. Even without press or microphones, or anything like that, he kept on showing up. In
  one instance, I remember his staﬀ called to cancel his a endance to a performance my students were
  doing because Jose was not feeling well that day. He personally let me know, and that gave me the
  chance to share how wonderful the kids were, and how much they were looking forward to sharing their
  work with the neighborhood. Moments later, to the surprise of his staﬀ and myself, he arrived, clearly
  under the weather, and wan ng to cheer and inspire our young students. He spoke brieﬂy at the end,
  and this to me is demonstra ve of what he has always been like in the neighborhood.

  Another thing about Jose Huizar that I truly admire to this day, and I’m sad others haven’t con nued that
  work, was his commitment to celebra ng our youth, and encouraging them to con nue in their
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  Jose Huizar Support Le er

  educa on. I believe the Adelante Awards were started by him while he was on the LAUSD School Board.
  These awards were in recogni on of outstanding LAUSD students from elementary to high school. He
  decided to con nue this important awards ceremony even a er becoming a Councilman. I got to hear
  him express his personal commitment to these awards while I was the volunteer Master of Ceremonies
  for several years.

  My neighbors con nue to speak highly of Jose Huizar. His eﬀorts to improve our streets, reduce
  homeless encampments, celebrate our culture, and a ending our mee ngs and events, are some of the
  reasons they con nue to support him too.

  I remember ge ng to chat brieﬂy with Jose in the past about him just wan ng to do good for our
  community. He explained how he took on his role as an LAUSD Board Member and Councilman to help
  improve the lives of students and residents, and to help upli our La no culture by highligh ng our
  posi ve achievements through the Mariachi Fes vals, Adelante Awards, Summer Night Lights, and other
  community ac vi es. He wanted to create a mini-civic center for Boyle Heights, now known as Boyle
  Heights City Hall, so that residents could more easily access programs that they might otherwise have to
  go to downtown LA for.

  While I’ve read some of what the case is about, I don’t pretend to know any of the real speciﬁcs. What I
  do know is that Jose Huizar has demonstrated to us, in the Boyle Heights community, that he truly cares
  about the people who live here, about their educa on, and about making things be er for them, for us.

  This is what I know about Jose Huizar, and why I’m wri ng in support of him. I look forward to being able
  to see him doing good work in our communi es again in the future.

  If there’s anything else I can help with in helping to understand his character, please contact me.


  Sincerely,



  Edward Padilla, MPH
  (323)           cell.




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